                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

DAVID GARRIE and JERRY WILLIAMS, on §
behalf of themselves and others similarly §
situated,                                 §
                                          §
        Plaintiffs,                       §
                                          §
V.                                        §               CIVIL ACTION NO. __________
                                          §
BC TECHNICAL, INC.,                       §
                                          §
        Defendant.                        §

       PLAINTIFFS’ ORIGINAL COLLECTIVE ACTION COMPLAINT

       Plaintiffs David Garrie and Jerry Williams, on behalf of themselves and others similarly

situated, file their Original Collective Action Complaint complaining of Defendant BC

Technical, Inc., (“BC Technical,” or “Defendant”), and would show the Court as follows:

       1.     This is a collective action suit to recover unpaid overtime wages brought under

the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq. During their employment with

BC Technical, Mr. Garrie, Mr. Williams, and their similarly situated Field Service Engineers

worked substantial overtime hours. But – while BC Technical charged its customers extra for

“overtime” service its Field Service Engineers provided – it never paid the Field Service

Engineers any overtime pay in compliance with the FLSA. Rather, BC Technical misclassified

all of its Field Service Engineers as “exempt” from overtime under the FLSA.

       2.     That the Field Service Engineers – whose primary duty is to manually service and

fix medical equipment using routine mental processes and many tools from their approximately

65-pound tool-boxes – are not exempt from overtime pay under the FLSA is crystal clear: As

explained below, not a single exemption from overtime under the FLSA even remotely applies to

the Field Service Engineers.
                                 THE PARTIES AND JURISDICTION

       3.       Plaintiff Mr. Garrie is a natural person residing in Highlands, Texas. He was

employed by BC Technical to perform work primarily in Texas, with a substantial amount of his

work done in the Southern District of Texas. Mr. Garrie has standing to file this lawsuit. His

notice of consent is attached.

       4.       Plaintiff Mr. Williams is a natural person residing in Montgomery, Texas. He

was employed by BC Technical to perform work primarily in Texas, with a substantial amount

of his work done in the Southern District of Texas. Mr. Williams has standing to file this

lawsuit. His notice of consent is also attached.

       5.       The “Members of the Class” are all current and former Field Service Engineers

who were employed by the Defendant during the three-year period preceding the filing of this

complaint.     Like the named Plaintiffs, these persons were and are engaged in interstate

commerce in performing their duties for Defendant.

       6.       Defendant BC Technical is headquartered at 7172 S. Airport Rd., West Jordan,

UT 84084, and incorporated under the laws of Utah. BC Technical may be served with citation

through its registered agent for service, Incorp Services, Inc., 815 Brazos, Suite 500, Austin,

Texas 78701.

       7.       In July 2009, BC Technical was acquired by MSouth Equity Partners of Atlanta,

Georgia. According to its website, MSouth Equity Partners is a private equity investment firm

that supports management teams with acquisitions and recapitalizations of companies typically

valued between $25 million and $125 million. At that time, MSouth Equity Partners had BC

Technical bring in several new officers, including its President and Chief Executive Officer,

Mark Alvarez.



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        8.     BC Technical regularly employs persons in Texas, and has regularly employed

persons in Texas for years. BC regularly performs work for customers in Texas, and has

regularly performed work for its customers in Texas for years.          The Court has personal

jurisdiction over BC Technical based on both general and specific jurisdiction.

        9.     The Court has subject matter jurisdiction over this case based on both federal

question jurisdiction and diversity jurisdiction. There is federal question jurisdiction because

Plaintiffs base claims on federal law, specifically the FLSA. There is diversity jurisdiction

because Mr. Williams and Mr. Garrie are Texas residents, BC Technical is a citizen of Utah that

maintains its principal place of business in Utah, and the matter in controversy exceeds

$75,000.00, excluding interest and costs.

                                                FACTS

        10.    Mr. Garrie began his employment with BC Technical in Texas in June 2007, as a

Field Service Engineer. Mr. Garrie’s employment with BC Technical ended in March 2009.

        11.    Mr. Williams began his employment with BC Technical in Texas in March 2005,

as a Field Service Engineer. Mr. Williams’ employment with BC Technical ended on August 4,

2010.

        12.    BC Technical employs a dedicated sales force in various states. The salespersons

on the sales force are responsible for obtaining new clients to sell service contracts to and

maintaining relationships with the Company’s existing customers.          Plaintiffs and putative

collective action members were not salespersons. Rather, they were Field Service Engineers

responsible for servicing and fixing the machines the salesperson sold service contracts on to BC

Technical’s customers. In other words, the sales force obtained new service contracts, and the

Field Service Engineers serviced the customers after they were under contract.



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       13.     Plaintiffs were among approximately 50 Field Service Engineers actively

employed by BC Technical across the country at any one time.

       14.     The Field Service Engineers are dispersed in various states.      They are not

predominantly clustered in any one state.

       15.     BC Technical employs more Field Service Engineers than any other job position

within BC Technical. This is because the Field Service Engineers do the work that produces the

vast majority of BC Technical’s revenues.

       16.     BC Technical generates revenues and profits as a result of the work performed by

its Field Service Engineers. Indeed, BC Technical’s entire business model is centered on making

money off of the work its Field Service Engineers perform for BC Technical. The Field Service

Engineers are thus not some ancillary part of BC Technical. Rather, they are figuratively the

engine that powers the BC Technical financial and operational locomotive.

       17.     Since 2006, BC Technical has made a profit every year. BC Technical’s annual

profits since 2006 have been in the millions of dollars.

       18.     BC Technical is the nation’s largest non-OEM (original equipment manufacturer)

service provider specializing in Molecular Imaging machines.

       19.     BC Technical currently serves over 500 clients across the United States of

America, providing maintenance services to hospitals and medical centers for certain of their

medical equipment. BC Technical provides that service through its Field Service Engineers.

       20.     During his entire employment with BC Technical, Mr. Garrie was employed as a

Field Service Engineer.

       21.     During his entire employment with BC Technical, Mr. Williams was employed as

a Field Service Engineer.



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       22.     The Field Service Engineer position at BC Technical is not a position that

requires advanced knowledge in a field of science or learning that is customarily acquired by a

prolonged course of specialized intellectual instruction.

       23.     In its advertisings for Field Service Engineers, from 2005 until present, BC

Technical did not list as a requirement that the candidate must have any particular educational

level of achievement to be qualified for the job.

       24.     Mr. Garrie’s highest level of education is approximately three years of college,

without any degree attained.

       25.     Mr. Williams’ highest level of education is a two-year Associate’s Degree.

       26.     Like Plaintiffs, most Field Service Engineers at BC Technical do not have

Bachelor’s Degrees. Indeed, some Field Service Engineers currently working for BC Technical

do not even have two-year Associate’s Degrees.

       27.     BC Technical does not maintain company offices or facilities for its Field

Engineers. Rather, the Field Service Engineers are stationed at their homes.

       28.     During their entire employment with BC Technical, Plaintiffs’ primary duty as

Field Service Engineers was to travel to BC Technical’s customers’ locations, which were

typically hospitals and other medical facilities, and to fix and service molecular imaging

equipment.

       29.     In driving to BC Technical’s customers’ locations, Plaintiffs drove their own

personal vehicles, none of which are “commercial vehicles” as defined by 49 U.S.C. § 31132(1).

       30.     None of the BC Technical Field Service Engineers drove “commercial vehicles”

as defined by 49 U.S.C. § 31132(1) in performing their job for BC Technical. Rather, they all




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drove their own personal, non-commercial vehicles in performing their job for BC Technical.

Often, they drive pick-up trucks or SUVs.

       31.    Plaintiffs and their similarly situated Field Service Engineers dressed like typical

servicemen who fix and service machines, dressing in clothes such as blue or black jeans and

pull over or button-down shirts, sometimes with BC Technical’s logo embroidered on them.

       32.    Mr. Garrie’s primary duty at BC Technical was the same primary duty he had as a

Field Service Engineer with multiple prior employers between October 1983 and his

employment with BC Technical in June 2007, including a total of 12 years with GE Medical

n/k/a GE Healthcare, and he and his coworker Field Service Engineers at each of those

employers received overtime at the rate of time and one-half their regular rate when they worked

in excess of 40 hours in a workweek.

       33.    Mr. Williams’ primary duty at BC Technical was the same primary duty he had as

a Field Service Engineer with three prior employers in the same industry (Toshiba American

Medical Systems, Inc. (“Toshiba”), ADAC Laboratories n/k/a Philips Medical Systems

(“Philips”), and GE Medical Systems n/k/a GE Healthcare), over a 15 year period from 1990

until 2005, and he and his coworker Field Service Engineers at each of those three employers

received overtime at the rate of time and one-half their regular rate when they worked in excess

of 40 hours in a workweek.

       34.    Many current Field Service Engineers working at BC Technical were employed

as Field Service Engineers by other major competitors in the industry, including but not limited

to Philips, GE Healthcare, and Siemens, before they went to work for BC Technical.

       35.    BC Technical seeks to hire people with experience working in the industry as

Field Service Engineers. To BC Technical, in hiring Field Service Engineers, relevant specific



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experience in the industry is more important to have than any specific educational level. Indeed,

the majority of BC Technical’s Field Service Engineers had field service experience in the

industry prior to being hired by BC Technical.

       36.    BC Technical does not typically hire new graduates of four-year colleges straight

out of college go directly into being Field Service Engineers. In fact, upon information and

belief, BC Technical has never hired any new graduate of a four-year college to directly become

a Field Service Engineer.

       37.    Upon information and belief, BC Technical has never gone to any four-year

colleges campus to recruit new graduates, or soon to be graduates, to directly become Field

Service Engineers at BC Technical.

       38.    BC Technical hires some new graduates of two year technical college programs to

go through a lengthy intra-company mentoring / apprenticeship program that gives them a year

or more of on-the-job experience before they are allowed to become Field Service Engineers.

       39.    A significant number of BC Technical’s present and former executives were

formally employed by other major competitors in the industry, including but not limited to

Philips, GE Healthcare, and Siemens. Hence, those executives knew it was the norm in the

industry to pay overtime to Field Service Engineers. For example, BC Technical’s current

President and CEO, Mark Alvarez, worked as a General Manager for GE Medical Systems. BC

Technical’s Chief Commercial Officer, Allen L. Smith, served in numerous Senior Executive

Management positions with GE Healthcare. And, BC Technical’s Vice President of Corporate

Accounts, Ken Smith, worked for GE Healthcare in leadership positions.

       40.    The work Plaintiffs performed as their primary duty during their entire

employment with BC Technical was not office work. Rather, Plaintiffs did no office work.



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       41.     The work Plaintiffs performed as their primary duty during their entire

employment with BC Technical was not non-manual work. Rather, Plaintiffs’ work was manual

work – fixing and servicing machines. Dispatchers from BC Technical’s home office in Utah

call or e-mail the Field Service Engineers with the customer’s call for service, and the Field

Service Engineer contacts the customer to arrange for their service call. The Field Service

Engineer then travels to the customer’s site and performs the work.

       42.     The work Plaintiffs performed as their primary duty during their entire

employment with BC Technical was not predominantly intellectual in character.                Rather,

Plaintiffs’ work was clearly and definitely “routine mental, manual, mechanical or physical

work.” 29 C.F.R. § 541.301(b).

       43.     In sum, the work Plaintiffs performed as their primary duty during their entire

employment with BC Technical involved routine mental processes and was (a) mechanical; (b)

manual; (c) physical; and (d) often dirty. It involved fixing medical equipment by the regular,

frequent, and every single work day use of tools such as screw-drivers, crescent wrenches, Allen

wrenches, vice grips, hacksaws, ball peen hammers, cable cutters, steel brushes, pliers, socket

sets, tweezers, utility knives, wire crimpers, cable ties, chisels, grease guns, electric drills, and

feeler gauges. Mr. Garrie carried an approximately 65-pound toolbox with him every day of the

job to house these tools. Mr. Williams also carried a 65-pound toolbox with him every day of

the job to house these tools. Other Field Service Engineers also carried the same or similar

toolboxes.

       44.     During their entire employment with BC Technical, Plaintiffs frequently worked

more than 40 hours in a workweek, and were non-exempt employees under the FLSA, but BC

Technical did not ever pay them overtime when they worked more than 40 hours in a workweek.



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       45.     Rather, BC Technical paid Plaintiffs a flat salary, plus commissions ranging from

approximately 4% to 7% of a pool of specified revenues once certain revenue thresholds were

met. BC Technical paid its other Field Service Engineers the same way.

       46.     BC Technical billed and continues to bill some or all of its customers specifically

for “overtime” at the rate of one and one-half of the regular hourly rate charged to the customer,

or some other extra “overtime” charge, when a Field Service Engineer works past a certain time

of day. This business practice implicitly suggests to the customer that the “overtime” charge is

related to the actual payment of overtime by BC Technical to its Field Service Engineers under

the FLSA. But, in truth, BC Technical pays no overtime pay to its Field Service Engineers under

the FLSA, and never has.

       47.     At some point in time, BC Technical did begin paying the Field Service

Representatives a very small, separate “billable overtime commission” (represented on the Field

Service Engineers’ pay stubs as “Billable OT Comm.”), which was a tiny percentage of the

revenue that BC Technical received from its customers’ payments specifically for the

aforementioned “overtime” charges. One of the reasons BC Technical did this was to incentivize

the Field Service Engineers to work even more overtime.

       48.     BC Technical told Plaintiffs that it did not have to pay them overtime because it

was paying them the aforementioned commissions instead. BC Technical executives and/or

managers told some of its other Field Service Engineers the same thing.          BC Technical’s

statements in this regard are simply incorrect. Upon information and belief, BC Technical’s

executives and/or managers knew their statements in this regard were simply incorrect, and made

the statements to distract the Field Service Engineers aware from focusing on their rights to

actual overtime pay at time and one-half their regular rate pursuant to the mandate of the FLSA.



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       49.     During part or all of the last three year period preceding the filing of this lawsuit,

some or all of BC Technical’s corporate executives knew that Toshiba paid overtime to their

Field Service Engineers at the rate of time and one-half their regular rate when they worked in

excess of 40 hours in a workweek. During part or all of the last three-year period preceding the

filing of this lawsuit, some or all of BC Technical’s corporate executives knew that Philips paid

overtime to their Field Service Engineers at the rate of time and one-half their regular rate when

they worked in excess of 40 hours in a workweek. During part or all of the last three-year period

preceding the filing of this lawsuit, some or all of BC Technical’s corporate executives knew that

GE Healthcare paid overtime to their Field Service Engineers at the rate of time and one-half

their regular rate when they worked in excess of 40 hours in a workweek. During part or all of

the last three year period preceding the filing of this lawsuit, some or all of BC Technical’s

corporate executives knew that Siemens paid overtime to their Field Service Engineers at the rate

of time and one-half their regular rate when they worked in excess of 40 hours in a workweek.

       50.     At the annual national meeting of BC Technical Field Service Engineers in Utah

each year, the BC Technical Executives would have a Question and Answer session. During that

session, one or more Field Service Engineer would always ask BC Technical executive(s),

including the Chief Operating Officer since September 2007, William Biddle, why they did not

receive overtime pay. The question made sense to ask because, like the Plaintiffs, many of them

had worked for competitors in the industry and received overtime pay.

       51.     The BC Technical executive(s), including William Biddle, never directly

answered that question in any logically coherent way that actually made any sense. It was very

clear to the Field Service Engineers that the BC Technical executive(s), including William

Biddle, were uncomfortable with the question, and that they were dodging it. In fact, BC



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Technical executive(s)’ dodging of the question at this meeting became so obvious and repeated,

that it became somewhat of a joke among some of the Field Service Engineers. The CEO, and

the other highest-ranking executives of BC Technical attended these meetings. Although BC

Technical’s executives said they would circulate the notes from these Question and Answer

sessions to the Field Service Engineers, they never did.

       52.     Mr. Garrie and Mr. Williams reported to Dick Green (Area Central Region

Service Manager). BC Technical employs approximately four or five Area Region Service

Managers across the country. The Field Service Engineers report to their respective Area Region

Service Manager. The Area Region Service Managers report to the COO, Biddle.

       53.     Defendant routinely required or was aware that Mr. Garrie worked more than 40

hours per workweek. Mr. Garrie’s boss, Dick Green (Area Central Region Service Manager)

repeatedly told Mr. Garrie to work overtime to get his work done, and knew he and other Field

Service Engineers frequently worked overtime.

       54.     Defendant routinely required or was aware that Mr. Williams worked more than

40 hours per workweek. Mr. Williams’ boss, Dick Green, repeatedly told Mr. Williams to work

overtime to get his work done, and knew he and other Field Service Engineers frequently worked

overtime.

       55.     Dick Green’s boss, the COO since 2007, William Biddle, knew full well that the

Field Service Engineers at BC Technical often worked overtime. Biddle also knew full well that

BC Technical’s primary competitors in the industry paid their Field Service Engineers overtime

at the rate of time and one-half their regular rate when they worked in excess of 40 hours in a

workweek. Biddle also knew that BC Technical’s Field Service Engineers were not exempt

from overtime under the FLSA.



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       56.     Biddle knows full well that the Field Service Engineers at BC Technical often

worked overtime. Biddle also knows full well that BC Technical’s primary competitors in the

industry paid their Field Service Engineers overtime at the rate of time and one-half their regular

rate when they worked in excess of 40 hours in a workweek. Biddle also knows that BC

Technical’s Field Service Engineers are not exempt from overtime under the FLSA.

       57.     Under the FLSA, employers such as BC Technical are generally required to pay

employees time and one-half their regular rate for all hours worked over 40 in a workweek. See

29 U.S.C. § 207(a)(1). There are some exemptions to this requirement. Under the law, those

exemptions are narrowly construed, and the burden of proof to establish them lies with the

employer. Vela v. City of Houston, 276 F.3d 659, 666 (5th Cir. 2001).

       58.     None of the FLSA’s exemptions from overtime apply to the Plaintiffs. In fact,

none are even remotely applicable.

       59.     None of the FLSA’s exemptions from overtime apply to any of BC Technical’s

Field Service Engineers. In fact, none are even remotely applicable.

       Executive Exemption Not Applicable

       60.     Plaintiffs were not exempt from overtime under the FLSA’s “Executive

Exemption.” To qualify for the executive employee exemption, all of the following three duties’

tests must be met: (a) the employee’s primary duty must be managing the enterprise, or

managing a customarily recognized department or subdivision of the enterprise; (b) the employee

must customarily and regularly direct the work of at least two or more other full-time employees

or their equivalent; and (c) the employee must have the authority to hire or fire other employees,

or the employee’s suggestions and recommendations as to the hiring, firing, advancement,




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promotion or any other change of status of other employees must be given particular weight. 29

C.F.R. § 541.100. Plaintiffs satisfy none of these three tests.

       61.     During his employment with BC Technical, Mr. Garrie’s primary duty was not of

management of the Company or of a customarily recognized department or subdivision.

       62.     During his employment with BC Technical, Mr. Garrie did not customarily and

regularly direct the work of two or more employees or the equivalent.         Rather, throughout his

employment, Mr. Garrie did not supervise any other employees.

       63.     During his employment with BC Technical, Mr. Garrie did not have the authority

to hire or fire other employees, nor did he have the power or authority to make any suggestions

or recommendations as to the hiring, firing, advancement, promotion or any other change of

status of other employees.

       64.     During his employment with BC Technical, Mr. Williams’ primary duty was not

of management of the Company or of a customarily recognized department or subdivision.

       65.     During his employment with BC Technical, Mr. Williams did not customarily and

regularly direct the work of two or more employees or the equivalent.         Rather, throughout his

employment, Mr. Williams did not supervise any other employees.

       66.     During his employment with BC Technical, Mr. Williams did not the authority to

hire or fire other employees, nor did he have the power or authority to make suggestions and

recommendations as to the hiring, firing, advancement, promotion or any other change of status

of other employees.

       67.     In sum, Plaintiffs were not exempt under the “Executive Exemption,” and did not

even satisfy one of the three requirements of the exemption’s duties’ test.




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       68.     None of the BC Technical Field Service Engineers employed by BC Technical in

the last three years are or were exempt under the “Executive Exemption.”

       69.     None of the BC Technical Field Service Engineers employed by BC Technical in

the last three years satisfy or satisfied even one of the requirements of the Executive

Exemption’s duties’ test.

       Administrative Exemption Not Applicable

       70.     Plaintiffs were not exempt from overtime under the FLSA’s “Administrative

Exemption.” To qualify for the administrative employee exemption, both of the following

duties’ tests must be met: (a) the employee’s primary duty must be the performance of office or

non-manual work directly related to the management or general business operations of the

employer or the employer’s customers; and (b) the employee’s primary duty includes the

exercise of discretion and independent judgment with respect to matters of significance. 29

C.F.R. § 541.200. Plaintiffs satisfy neither test (a) nor (b).

       71.     During his employment with BC Technical, Mr. Garrie’s primary duty was not

the performance of office or non-manual work directly related to the management or general

business operations of BC Technical or BC Technical’s customers. Rather, his primary duty was

merely to fix and service BC Technical’s customers’ machines at their locations using routine

mental processes, manual labor, his tools, and technical manuals stored on site at the customers’

location, as well as BC Technical provided technical manuals that were available in electronic

form on a laptop computer issued by the Company to the Field Service Engineers.

       72.     During his employment with BC Technical, Mr. Garrie’s primary duty did not

include the exercise of discretion and independent judgment with respect to matters of

significance. In fact, Mr. Garrie was merely a service person fixing and servicing equipment. He



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followed technical manuals to fix and service the machines, as did other Field Service Engineers.

BC Technical itself distributed technical manuals to its Field Service Engineers to direct them on

how to perform their work fixing the machines.

       73.     During his employment with BC Technical, Mr. Williams’s primary duty was not

the performance of office or non-manual work directly related to the management or general

business operations of BC Technical or BC Technical’s customers. Rather, his primary duty was

to fix and service BC Technical’s customers’ machines at their locations using routing mental

processes, manual labor, his tools, and technical manuals stored on site at the customers’

location, as well as BC Technical provided technical manuals that were available in electronic

form on a laptop computer issued by the Company to the Field Service Engineers.

       74.     During his employment with BC Technical, Mr. Williams’ primary duty did not

include the exercise of discretion and independent judgment with respect to matters of

significance. In fact, Mr. Williams was merely a service person fixing and servicing equipment.

He followed technical manuals to fix and service the machines, as did other Field Service

Engineers. BC Technical itself distributed technical manuals to its Field Service Engineers to

direct them on how to perform their work fixing the machines.

       75.     In sum, Plaintiffs were not exempt under the “Administrative Exemption,” and

did not even satisfy one of the requirements of the exemption’s duties’ test.

       76.     None of the BC Technical Field Service Engineers employed by BC Technical in

the last three years are or were exempt under the “Administrative Exemption.”

       77.     None of the BC Technical Field Service Engineers employed by BC Technical in

the last three years satisfy or satisfied even one of the requirements of the Administrative

Exemption’s duties’ test.



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       Learned Professional Exemption Not Applicable

       78.     Plaintiffs were not exempt from overtime under the FLSA’s “Learned

Professional Exemption.” To qualify for the learned professional employee exemption, all of the

following duties tests must be met: (a) the employee’s primary duty must be the performance of

work requiring advanced knowledge, defined as work which is predominantly intellectual in

character and which includes work requiring the consistent exercise of discretion and judgment;

(b) the advanced knowledge must be in a field of science or learning; and (c) the advanced

knowledge must be customarily acquired by a prolonged course of specialized intellectual

instruction. 29 C.F.R. § 541.301. Plaintiffs satisfy none of these three tests.

       79.     During his employment with BC Technical, Mr. Garrie’s primary duty was not

the performance of work requiring advanced knowledge in a field of science or learning

customarily acquired by a prolonged course of specialized intellectual instruction. See Vela v.

City of Houston, 276 F.3d 659, 675 (5th Cir. 2001) (explaining that EMTs and paramedics are

not exempt professionals because they are not required to have an advanced degree in any

specified field, so they, “lack the educational background to satisfy the education prong of the

Learned Professional exemption”); Young v. Cooper Cameron Corp., 586 F.3d 201 (2d Cir.

2009) (“product design specialist” was not within professional exemption from FLSA’s

overtime-pay provision, even though he performed work requiring depth of knowledge,

experience, and responsibility, because the position required no formal advanced education, and

the knowledge required for job was not customarily acquired by prolonged course of specialized

intellectual instruction, i.e. most persons in position acquired their knowledge through

experience); Fife v. Harmon, 171 F.3d 1173, 1177 (8th Cir. 1999) (the minimum qualifications

for the plaintiffs’ position as Airfield Operation Specialists were “a Bachelor's degree in aviation



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management or a directly related field, or four years of full-time experience in aviation

administration, or an equivalent combination of experience and education.” The court held the

exemption inapplicable: “This is advanced knowledge from a general academic education and

from an apprenticeship, not from a prolonged course of specialized intellectual instruction.”);

Reeves v. ITT, 357 F.Supp. 295, 303-04 (W.D. La. 1973) (finding that “microwave field

engineer” was not within FLSA’s exemption relating to professional employees on facts relating

to educational background for the job that are very similar to this case).

       80.     During his employment with BC Technical, Mr. Williams’ primary duty was not

the performance of work requiring advanced knowledge in a field of science or learning

customarily acquired by a prolonged course of specialized intellectual instruction. See cases

cited above, supra.

       81.     “The phrase ‘customarily acquired by a prolonged course of specialized

intellectual instruction’ restricts the [Learned Professional] Exemption to professions where

specialized academic training is a standard prerequisite for entrance into the profession. The best

prima facie evidence that an employee meets this requirement is possession of the appropriate

academic degree.” 29 C.F.R. § 541.301(d). “The typical symbol of the professional training and

the best prima facie evidence of its possession is, of course, the appropriate academic degree,

and in these professions an advanced academic degree is a standard (if not universal)

prerequisite.” 29 C.F.R. § 541.301(e)(1). As the preamble to the Department’s 2004 revisions to

the Part 541 final rule further explained, jobs that “require only a four-year college degree in any

field or a two-year degree as a standard prerequisite for entrance into the field . . . do not qualify

for the learned professional exemption.” 69 Fed. Reg. 22,122, 22,150 (Apr. 23, 2004); Wage

and Hour Opinion Letters FLSA2005-35 (Oct. 3, 2005).



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       82.     The Field Service Engineer job Plaintiffs performed at BC Technical and other

Field Service Engineers perform does not even require a four-year college degree.

       83.     Many Field Service Engineers employed by BC Technical do not even have a

four-year college degree.

       84.     The Field Service Engineer job Plaintiffs performed at BC Technical and other

Field Service Engineers perform does not even require a two-year college degree.

       85.     Many Field Service Engineers employed by BC Technical, including Mr. Garrie,

do not even have a two-year college degree.

       86.     The Learned Professional Exemption further requires that the employees’ primary

duty consist of “work which is predominantly intellectual in character, and which includes work

requiring the consistent exercise of discretion and judgment, as distinguished from performance

of routine mental, manual, mechanical or physical work.” 29 C.F.R. § 541.301(b).

       87.     During his employment with BC Technical, Mr. Garrie’s work was not

predominantly intellectual in character and did not include work requiring the consistent exercise

of discretion and judgment, as distinguished from performance of routine mental, manual,

mechanical or physical work. Rather, as described above, the work performed by Mr. Garrie as

a Field Service Engineer at BC Technical was clearly and definitely more in the character of

routine mental, manual, mechanical and physical processes than intellectual work requiring the

consistent exercise of discretion and judgment. 29 C.F.R. § 541.301(d). Cf. Vela v. City of

Houston, 276 F.3d 659, 676 (5th Cir. 2001) (stating as to EMT and Paramedics that “[w]e find

that, although the Daley Plaintiffs use a small amount of discretion in their jobs, this discretion is

not sufficient to establish “the consistent exercise of discretion and judgment” required by the

discretion prong of the Learned Professional exemption. Thus, the City failed to satisfy its



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burden of proof on either prong of this exemption. We find that the Daley Plaintiffs do not fall

within the Learned Professional exemption as a matter of law.”)

       88.     During his employment with BC Technical, Mr. Williams’ work was not

predominantly intellectual in character and did not include work requiring the consistent exercise

of discretion and judgment, as distinguished from performance of routine mental, manual,

mechanical or physical work. Rather, the work performed by Mr. Williams as a Field Service

Engineer at BC Technical was clearly and definitely more in the character of routine mental,

manual, mechanical and physical processes than intellectual work requiring the consistent

exercise of discretion and judgment. 29 C.F.R. § 541.301(d).

       89.     In sum, Plaintiffs were not exempt under the “Learned Professional Exemption,”

and did not even satisfy one of the three requirements of the exemption’s duties’ test.

       90.     None of the BC Technical Field Service Engineers employed by BC Technical in

the last three years are or were exempt under the “Learned Professional” exemption.

       91.     None of the BC Technical Field Service Engineers employed by BC Technical in

the last three years satisfy or satisfied even one of the requirements of the Learned Professional

Exemption’s duties’ test.

       92.     Plaintiffs worked overtime regularly and frequently.

       93.     BC Technical failed to pay Plaintiffs overtime compensation for hours worked

over 40 in a workweek.

       94.     BC Technical does not have a complete, accurate, and contemporaneous record of

the number of hours worked per workweek by Plaintiff.

       95.     Defendant routinely required or was aware that Field Service Engineers who are

similarly situated to Plaintiff work and/or worked more than 40 hours per workweek.



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           96.    BC Technical never paid the Field Service Engineers similarly situated to Plaintiff

overtime compensation for hours worked over 40 in a workweek.

           97.    BC Technical does not have a complete, accurate, and contemporaneous record of

the number of hours worked per workweek by the Field Service Engineers similarly situated to

Plaintiffs.

           98.    All conditions precedent, if any, to this suit, have been fulfilled.

                                            FLSA CLAIMS

           99.    This action is authorized and instituted pursuant to the FLSA. 29 U.S.C. § 201,

et. seq.

           100.   At all material times, Plaintiffs were employees under the FLSA. 29 U.S.C. §

203(e).

           101.   At all material times, the Field Service Engineers similarly situated to Plaintiff

were and are employees under the FLSA. 29 U.S.C. § 203(e).

           102.   At all material times, Defendant BC Technical was and is an eligible employer

under the FLSA. 29 U.S.C. § 203(d).

           103.   At all material times, Plaintiffs and those Field Service Engineers similarly

situated to Plaintiffs routinely worked in excess of 40 hours per seven-day workweek.

           104.   At all material times, Plaintiffs and those Field Service Engineers similarly

situated to Plaintiffs routinely worked in excess of 40 hours per seven-day workweek and BC

Technical knew or should have known that.

           105.   At all material times, Plaintiffs and those Field Service Engineers similarly

situated to Plaintiff were and are entitled to overtime compensation for hours worked over 40 in

a seven-day workweek. 29 U.S.C. § 207(a)(1).



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          106.   At all material times, Defendant failed to pay Plaintiffs and those Field Service

Engineers similarly situated to Plaintiffs overtime compensation for hours worked over 40 in a

seven-day workweek.

          107.   Defendant’s violation of the FLSA was and remains willful within the meaning of

29 U.S.C. § 255(a). See Singer v. City of Waco, 324 F.3d 813, 821-22 (5th Cir. 2003) (upholding

a jury finding of willfulness where the employer knew its employees were being paid

incorrectly). BC Technical charged and continues to charge its customers for “overtime,” for

service the Field Service Engineers provide, but never paid any FLSA mandated overtime to the

Field Service Engineers.

          108.   Defendant has not made a good faith effort to comply with the requirements of 29

U.S.C. § 260.

          109.   Where, as here, “the employers’ actions or policies were effectuated on a

companywide basis, notice may be sent to all similarly situated persons on a companywide

basis.”    Ryan v. Staff Care, Inc., 497 F. Supp. 2d 820, 825 (N.D. Tex. 2007) (certifying

nationwide class in FLSA misclassification case).

          110.   Accordingly, Plaintiffs seek to represent a class under 29 U.S.C. § 216(b) on

behalf of:

          “All current and former Field Service Engineers who were employed by Defendant

          during the three-year period preceding the filing of this complaint.”

                                              JURY DEMAND

          111.   Plaintiffs demand a jury trial.




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                                              DAMAGES

        112.    As a result of Defendant’s violation of the FLSA, Plaintiffs and those Field

Service Engineers similarly situated to Plaintiffs seek unpaid overtime wages, liquidated

damages in an amount equal to unpaid overtime wages, and reasonable attorneys’ fees. 29

U.S.C. §§ 216(b), 260. Plaintiffs also seek pre- and post-judgment interest and costs of court.

                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs, on behalf of themselves and

those similarly situated, ask that the court issue a summons for Defendant to appear and answer,

and that Plaintiffs and those similarly situated be awarded a judgment against Defendant for

damages delineated in the above-section, entitled “Damages” and for all other appropriate relief

to which Plaintiffs are justly entitled.

                                                        Respectfully submitted,

                                                        OBERTI SULLIVAN LLP

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